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                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

       AMY BROWN,

              Plaintiff,                                           Case No.: 1:23-cv-15578

       v.                                                          Judge Charles P. Kocoras

       THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Young B. Kim
       ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

              Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

              NO.                                     DEFENDANT
               6                                      Sunshine Lvkes
              112                                  liuyunzhutinsigndian


DATED: December 19, 2023                                    Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 W. Jackson Blvd., #2W
                                                    Chicago, Illinois 60604
                                                    Telephone:312-971-6752
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:23-cv-15578 Document #: 33 Filed: 12/19/23 Page 2 of 2 PageID #:1054


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on December 19, 2023 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
